Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed 08/21/08 Page 1 of 29

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL Docket No. 1657
Products Liability Litigation SECTION L
JUDGE FALLON

(This document relates to the following
individual case:)
MAG. JUDGE KNOWLES
Saolotoga Aiono, et. al., vs. Merck & Co.,
Inc. and Merck Pharmaceuticals, a/k/a Transferred from USDC District of Utah,
Merck, No: 2:05¢v4743 Case # 2:05cv00578

NOTICE OF RELEASE OF LIEN
TO ALL PARTIES AND TO THEIR COUNSEL, AND TO ALL OTHER

PERSONS OR ENTITIES INTERESTED IN THIS ACTION:

PLEASE TAKE NOTICE that RD Legal Funding, LLC (“RDLF’”), Judgment Creditor
of Sherman & Salkow, PC and Arthur Sherman (collectively, the “Sherman firm”) hereby
releases its Notice of Lien filed herein on or about June 18, 2008, a true and correct copy of
which is attached hereto as Exhibit “1”. The lien is released solely to facilitate substitution of
counsel for the affected Plaintiffs in the Vioxx Products Liability Litigation. This Release of
Lien does not reflect that the underlying judgment has been satisfied.

Dated: July 28, 2008 Respectfully Submitted,

Leonard M. Situlygan /

Irena Leigh Norton

Shulman Hodges & Bastian LLP
3750 University Ave., Ste. 670
Riverside, CA 92501

Telephone: (951) 275-9300
Facsimile: (951) 275-9303
Email: inorton@shbllp.com

Attorneys for RD Legal Funding, LLE— Fee
_—.. Process

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IN THE UNITEBiSEATESHRSERICT COURT 8065 22008500)
FOR THE EASTERN DISTRICT OF LOUISIANA;»- 0000! SA

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IN RE: VIOXX® MDL Docket No. 1657
Products Liability Litigation SECTION L
JUDGE FALLON

(This document relates to the following
individual case:)
MAG. JUDGE KNOWLES

Saolotoga Aiono, et. al., vs. Merck & Co.,

Inc. and Merck Pharmaceuticals, a/k/a Transferred from USDC District of Utah,
Merck, No: 2:05cv4743 Case # 2:05cv00578
‘NOTICE OF LIEN

RD Legal Funding, LLC (“RDLF”) hereby enters a special appearance in the above
captioned litigation through the undersigned counsel.

TO ALL PARTIES AND TO THEIR COUNSEL, AND TO ALL OTHER
PERSONS OR ENTITIES INTERESTED IN THIS ACTION:

. PLEASE TAKE NOTICE that RD Legal Funding, LLC (“RDLF”), Judgment Creditor
of Sherman & Salkow, PC and Arthur Sherman (collectively, the “Sherman firm”) hereby
asserts that a lien is created by this notice under Article 5 (commencing with section 708.410) of

Chapter 6 of Title 9 of Part 2 of the Code of Civil Procedure.
1. The lien was created pursuant to a Judgment entered against the Sherman firm in
the following action:
a. Title of Court: United States District Court, Central District of California, Los:
Angeles Division;
b. Name of Case: RD Legal Funding, LLC v. Sherman & Salkow, et. al.;
c. Case No.: CV07-4849GW (VBKx)

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d. Date of Entry of Judgment: August 21, 2007
2. A true and correct copy of the Judgment is attached hereto as Exhibit 1.
3. The name and address of the Judgment Creditor is as follows:
a. RD Legal Funding, LLC, P.O. Box 809161, Chicago, IL 60680-9161;
4, Counsel for the Judgment Creditor is Irena Leigh Norton, Esq., Shulman Hodges
& Bastian, 3750 University Ave., Ste. 670, Riverside, CA 92501.
Ss. The name and last known addresses of the Judgment Debtors are as follows:
a. Sherman & Salkow, P.C. c/o Arthur Sherman, Esq., Law Offices of Arthur
Sherman, 11620 Wilshire Blvd., Ste. 870, Los Angeles, CA 90025;
b, Arthur Sherman, Esq. Law Offices of Arthur Sherman, 11620 Wilshire Blvd.,
Ste. 870, Los Angeles, CA 90025.
6. The amount required to satisfy the Judgment Creditor’s liens is $6,807,071.81 as
of June 17, 2008.

7. The lien created by this notice attaches to the Sherman Firm’s rights to money or
property under any judgment or distribution procured in this action or proceeding.

8. No compromise, dismissal, settlement, or satisfaction of this action or proceeding
or any of the rights of the Sherman firm to money or property under any judgment procured in
this action or proceeding may be entered into by or on behalf of the Sherman firm, and the
Sherman firm may not enforce any rights to money or property under any judgment procured in

this action or proceeding by a writ or otherwise, unless one of the following requirements is

satisfied:

a. The prior approval by order of the court in this action or proceeding has
been obtained;

b. The written consent of RDLF has been obtained or the RDLF has released
the lien; or

c. The judgment lien of RDLF has been satisfied.

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NOTICE: The persons named in paragraph 3 may claim an exemption for all or
any portion of the money or property within 30 days after receiving notice of the creation

of the lien. The exemption is waived if it is not claimed in time. |

Dated: June 17, 2008 Respectfully Submitted,

dana [igh Vit

Leonard M. Ane AER

Trena Leigh Norton

Shulman Hodges & Bastian LLP

3750 University Ave., Ste. 670
Riverside, CA 92501

Telephone: (951) 275-9300
Facsimile: (951) 275-9303

Email: inorton@shblip.com

Attorneys for RD Legal Funding, LLC

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BASTIAN LLP
26632 Towne Cornre Drive
Suite 100
Foothill Ranch, CA 92610

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Leonard M. Shulman — Bat No, 126349 . FILED
Mania Kadir -- Bar No. 219974

MAN HODGES & BASTIAN LLP
SED Towne Centre Drive, Suite 300 2007 Nov 2
Foothill Ranch, California 92610-2808 U? 26 fiHID: 26
Telephone: (949) 340-3400 CLERK Us Gon
Facsimile: (949) 340-3000 . CENTR ae pep Re Fodugy
gs a RGELES agit

Attorneys for RD Legal Funding, LLC ay:

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION- LOS ANGELES

RD LEGAL FUNDING, LLC, a New Case No. CV 07-4849 GW (VBKx)
Jersey Limited Liability Company, .
NOTICE OF ENTRY OF

JUDGMENT
Plaintiff,

VS.

SHERMAN & SALKOW, a
California professional corporation;
ARTHUR SHERMAN, an
individual.

Defendants.

PLEASE TAKE NOTICE that on August 21, 2007, Judgment was
entered by the above entitled court in favor of Plaintiff, RD Legal Funding,
LLC (“RDLF” or “Plaintiff’) and against Defendants, Sherman & Salkow, a
California professional corporation (“Sherman & Salkow”) and Arthur Sherman,
an individual (“Sherman”) (collectively “Defendants”). A true and correct copy the

Judgment is attached hereto as Exhibit “1”. a
SHUL GHS & BASTIAN LLP

By:
Dated: November 2, 2007 Neonard M. Shulman
Manijha Kadir

Counsel for Plaintiff, RD Legal Funding, LLC.
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1 } Leonard M. Shulman — Bar No, 426349
Manijha Kadir — Bar No. 2199
2 AN HODGES & BASTIAN LLP a
96632, Towne Centre Drive, Suite 300 - os
3 || Foothill Ranch, Califorma “$261 0-2808 ws
Telephone: {343} 340-3400 s+ S
4 (Facsimile: (949) 340-3000 % a
_5 | ‘Attorneys for RD Legal Funding, L LLC “Eo
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& gpg UNITED STATES DISTRICT COURT fa
“YES : FOR THE CENTRAL DISTRICT OF CALIFORNIA =
_ 4 10 ” WESTERN DIVISION- LOS ANGELES
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= 12 {RD LEGAL FUNDING, LLC, a New } Case No. CV 07-4849 GW (VBKx)
cy Jersey Limited Liability Company,
—~ 13 [PROPOSED] JUDGMENT
oS 14 Plaintiff,
15 fvs.
16 {SHERMAN & SALKOW, a
7 California ornia profession’ corporation; .
an
18 ARE , [genta oC uw a Toad
Defendants.
19 . .
20 RD Legal Funding, LLC (“RDLF” or “plaintiff’) and Sherman & Salkow, a
91 |California professional corporation (“Sherman & Salkow”) and Arthur Sherman,
22 fan individual (“Sherman”) (collectively ‘Defendants”) having entered into a
23 | Stipulated Judgment, which fully executed Stipulated Judgment was filed with this
24 Wcourt on July 27, 2007 and a true copy of which is attached hereto as Exhibit “A”,
25 and for good cause showing, it is hereby
26 ‘Ordered, decreed and adjudged that Judgment is granted in favor of
27 4 Plaintiff and against Defendants as follows:
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Poukdl Ranch, CA 92619

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1. 0A non-dischargeable judgment (the “Judgment”) is entered in the
Complaint in. favor of Plaintiff and against Defendants in the suf’ of
$6,192,848.85, plus pre-judgment interest and post-judgment interest, &

2. - Interest thereon shall be calculated at the note rate of 10% per anntim,
from July 1, 2007 until the Judgment is paid in full;

3. Plaintiff is entitled to recover reasonable attorneys fees in the amount
of $15,000, plus costs of suit in the amount of $500.00.

INJUNCTION
To Defendants, Sherman & Salkow and Asthur Sherman and their officers,

directors, managers, employees, representatives, agents, attorneys, affiliates,
privies, parents, subsidiaries and/or successors in interest:

You are hereby PERMANENTLY ENJOINED from any and all of the
following acts: .

1. Demanding, collecting, receiving or in any other way diverting and
using any and all of the legal fees and costs due to you from: a) certain litigation
entitled In-re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00
Civ 2843, in the United States District Court, Southern District of New York; b)

‘certain litigation entitled In re Phenlyipro anolamine (PPA ducts Liabili

Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
Court, Western District of Washington at Seattle; c) certain litigation entitled In re
Diet Drug Litigation, MDL No, 1203, Case No, 2:99-cy-200593HB, in the United
States District Court, Eastern District of Pennsylvania; and/or d) certain litigation
commonly known as Seventh Amendment to the National Diet Drug Settlernent
Agreement, MDL No. 1203, Case No. 99-20593, in the United States District
Court, Eastern District of Pennsylvania.

2. Demanding, collecting, receiving or in any other way diverting and
using any of the legal fees specifically soid to RD Legal Funding, LLC pursuant to

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certain assignment and sale agreements, including,” the Rezulin Legal Fee', the
PPA Legal Fee”, Diet Drug Legal Fees’, and/or the Seventh Amendment Legal
Fee’; . fe
3. Transferring, conveying, assigning, pledging, deeding, selfing,
renting, leasing, encumbering, changing ownership, vesting or title to, or otherwise
disposing of, any of legal fees and costs due to you from a) certain litigation
entitled In re Remulin Products Liability Litigation, MDL No. 1348, Case No. 00
Ciy 2843, in the United States District Coutt, Southern District of New York; b)
certain litigation entitled In_re Phenlylpropanolamine (PPA) Products Liability
Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
Court, Western District of Washington at Seattle; c) certain litigation entitled In re
Diet Drug Litigation, MDL No. 1203, Case No, 2:99-cv-200593HB, in the United
States District Court, Eastern District of Pennsylvania; and/or d) certain litigation
commonly known as Seventh Amendment to the Nationa! Diet Drug Settlement
l Agreement, MDL No. 1203, Case No. 99-20593, in the United States District

Court, Eastern District of Pennsylvania.

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4. Transferring, conveying, assigning, pledging, deeding, selling,

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renting, leasing, encumbering, changing ownership, vesting or title to, or otherwise

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T Tegal fees in an amount of at least $1,385,438 duc to Sherman and/or Sherman & Salkow
from certain litigation entitled In re Rezulin Products Liabihty Litigation, MDL No. 1348, Case
No. 00 Civ 2843, in the United States District Court, Southern District of New York.

2 Legal fees in an amount of at least $1,385,438 due to Sherman and/or Sherman & Salkow
from certain litgation entitled In re Phenlyt anolamine (PPA) Products Liability Litigation.
MDL No. 1407, Case No. 1-MD-1407, in the United States District Court, Western District of
Washington at Seattle. :

3 Legal fees in amounts of at least $2,388,320.60 due to Sherman and/or Sherman & Salkow
from certain litigation entitled In re Diet Drug Liugution, MDL No 1203, Case No. 2.99-cv-
200593HB, in the United States Distnct Court, Eastern District of Pennsylvania.

4 Legal fees in an amount of at least $533,652.25 due to Sherman and/or Sherman & Salkow

from certain titigaion commonly known as Seventh Amendment to the Nationa! Diet Drug

28 Settlement Agreement, MDL No. 1203, Case No. 99-20593, in the United States District Court,
Eastern District of Pennsylvania.

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BASTIAN LLP
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SHULMAN HODGES &
BASTIAN LLP
26692 Towne Centre Drive

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Foguhil Ranch, CA T2610

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disposing of, any of the Rezulin Legal Fee, the PPA Legal Tee, Diet Drug Legal
Fees, and/or the Seventh Amendment Legal Fee.

To Defendants, Sherman & Salkow and Asthur Sherman and their offers,
directors, managers, employees, representatives, agents, attorneys, attiies,

ptivies, parents, subsidiaries and/or successors in interest AND/OR the various

administrators and/or trustees and/or parties responsible for the distribution of any

and/or all of the legal fees and costs in the following matters: a) certain litigation

entitled In re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00
Civ 2843, in the United States District Court, Southern District of New York; b)
certain litigation entitled In re Phenlylpropanolamine (PPA) Products Liability
Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
Court, Western District of Washington at Seattle; c) certain litigation entitled In re
Diet Drug Litigation, MDL No. 1203, Case No, 2:99-cv-200593HB, in the United
States District Court, Eastern District of Pennsyivania; and/or d) certain litigation
commonly known as Seventh Amendment to the National Diet Drug Setflement
Agreement, MDL No. 1203, Case No. 99-20593, in the United States District
Court, Eastern District of Pennsylvania.

YOU ARE HEREBY FURTHER PERMANENTLY DIRECTED AS
FOLLOWS:

1. Any and/or all of the legal fees and costs due to Sherman & Salkow
and Arthur Sherman and their officers, directors, managers, employees,
representatives, agents, attomeys, affiliates, privies, parents, subsidiaries and/or
successors in interest, from the following litigation, shall be distributed directly to
RD Legal Funding, LLC, as assignee of any and ali such funds: a) certain litigation
entitled In re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00
Civ 2843, in the United States District Court, Southern District of New York; b)

‘Icertain litigation entitled In_re Phenlylpropanolamine (PPA) Products Liability

Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
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Court, Western District of Washington at Seattle; c) certain litigation entitled In te
Diet Drug Litigation, MDL No. 1203, Case No. 2:99-cv-200593HB, in the United

States District Court, Eastern District of Pennsylvania; and/or d) certain litigation
commonly known as Seventh Amendment to the National Diet Drag Settlement
Agreement, MDL No, 1203, Case No. 99-20593, in the United States District
Court, Eastern District of Pennsylvania.

2. Any and/or all of the Rezulin Legal Fee, the PPA Legal Fee, Diet
‘Drug Legal Fees, and/or the Seventh Amendment Legal Fee shall be distributed
directly to RD Legal Funding, LLC, as assignee of any and all such funds.

3. Upon court approval in each of the respective cases noted above, for
distribution of such legal fees and costs, a check shall be issued payable to RD

Legal Funding, LLC, assignee, and delivered to:

RDLF Financial Services, LLC

Tax ID No. XX-XXXXXXX -
P.O, Box 809161
Chicago, IL 60680-9161

The Court retains jurisdiction over this matter to enforce the terms of the

Stipulated Judgment and to enforce this Judgment.

DATED: August wa 2007 Aes Mf 4--—-——~..

HONORABLE GEORGE W. WU
UNITED STATES DISTRICT COURT JUDGE

Respectfully submitted by:
. SHULMAN HODGES & BASTIAN LLP

Dated: August 15, 2007 By:

Leonard M. Squlmiad / “*
Manijha Kadir
Counsel for Plaintiff, RD Legal Funding, LLC.

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Leonard M. Shulman— Bar No, 126349 A

HODGES & BAS LLP ine Ss =

26632 Towne Centre Drive, Suite 300 xy OF

Foothill Ranch, California 92610-2808 ore = sk

Telephone: 849) 940-3400 eke ue
Facsimile: (949) 340-3000 BBE ~~

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Attorneys for RD Legal Funding, LLC e 8 z
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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION- LOS ANGELES
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STIPULATED JUDGMENT
Plsintiff,
¥s.
SHERMAN & SALKOW, a

California professional corporation;
ARTHUR SHERMAN, an* ;
individual.

Defendants.

This Stipulated Judgment for Breach of Contract Damages and for
Injunctive Relief is entered into between RD Legal Funding, LLC (“RDLF” or
“Plaintife’) and Sherman & Salkow, a California professional corporation
(“Sherman & Salkow’} and Arthur Sherman, an individual (“Sherman”)
(collectively “Defendants”), as follows:

WHEREAS, on or about July 20, 2007, Plaintiff filed a Complaint for
Stipulated Judgment for Breach of Contract Damages and for Injunctive Relief
against the Defendants. .

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WHEREAS, the Defendants have been served and do not contest the
allegations in the Complaint. iy

WHEREAS, Plaintiff and Defendants desire to stipulate to judgment ity
favor of the Plaintiff and against the Defendants es follows: cd

MONETARY JUDGMENT

1. A non-dischargeable judgment (the “Judgment”) shall be entered in
the Complaint in favor of Plaintiff and against Defendants in the sum of |
$6,192,848.85, plus pre-judgment interest and post-judgment interest;

9, Interest thereon shall be catculated at the note rate of 10% per annum,
from July 1, 2007 until the Judgment is paid in full;

3. Plaintiff shall be allowed reasonable attorneys fees in the amount of
$15,000, plus costs of suit in the amount of $500.00.
INJUNCTION

To Defendants, Sherman & Salkow and Arthur Sherman and their officers,

directors, managers, employees, representatives, agents, attorneys, affiliates,

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privies, parents, subsidiaries and/or successors in interest:

You are hereby PERMANENTLY ENJOINED from any and all of the
following acts:

1. Demanding, collecting, receiving or in any other way diverting and
‘using any and all of the legal fees and costs due to you from: a) certain litigation
21 jentitled In re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00
22 | Civ 2843, in the United States District Court, Southern District of New York; b)
23 Kcertain litigation entitled ] i jabili
24 | Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
25 I Court, Western District of Washington at Seattle; c) certain Htigstion entitled In re
26 | Diet Drug Litigation, MDL No. 1203, Case No. 2:99-cv-200593HB, in the United
27 {States District Court, Bastern District of Pennsylvania; and/or 4) certain. litigation
28 {commonly known -28 Seventh Amendment to the National Diet Drug Settlement

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Agreement, MDL No. 1203, Case No. 99-20593, in the United States District
Court, Rastern District of Pennsylvania. i

2, Demanding, collecting, receiving or in any other way diverting and
using any of the legal fees specifically sold to RD Legal Funding, LLC pursuant to?
certain assignment and sale agreements, including, the Rezulin Legal Fee’, the
PPA Legal Fee?, Diet Drug Legal Fees’, and/or the Seventh Amendment Legal
Fee‘; ’

3. Transferring, conveying, assigning, pledging, deeding, selling,
renting, jeasing, encumbering, changing ownership, vesting or title to, or otherwise
disposing of, any of legal fees and costs due to you from a) certain litigation
entitled In re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00
Civ 2843, in the United States District Court, Southern District of New York; b) .
certain litigation entitled In re Phealylpropanolamine (PPA) Products Liability
Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
Court, Wester District of Washington at Seattle; c) certain litigation. entitled In re
Diet Drug Litigation, MDL No. 1203, Case No. 2:99-cv-200593HB, in the United
States District Court, Eastern District of Pennsylvania; and/or d) certain litigation
commonly known as Seventh Amendment to the National Diet Drug Settlement

' Legal fecs in an amount of at least $1,385,438 due to Sherman and/or Sherman & Satkow
from certain litigation entitled In. re Rezulin Products Liability Litigation, MDL No. 1348, Case
No. 00 Civ 2843, in the United States District Court, Southam District of New York.

3 Legal foes in amounts Of at least $2,888,320.60 due to Sherman and/or Sherman & Salkow
from certain litigation entitled In ro Dt itigation, MDL No. 1203, Case No. 2:99-0v-
200593HB, in the United States District Court, Rastern District of Pennsylvania.

+ Segal fees in an amount of at least $533,652.25 due to Sherman and/or Sherman & Salkow
from cerfain litigation commonly known es Seventh Anendment to the National Diet Drug
Scttlement Agreement, MDL No. 1203, Case No. 99-20593, in the United States District Court,
Eastern District of Penusylvania.

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Agreement, MDL No, 1203, Case No. 99-20593, in the United States District
Court, Eastern District of Pennsylvania.

4. Transferring, conveying, assigning, pledging, deeding, selling:
renting, leasing, enoumbering, changing ownersbip, vesting or fitle to, or otherwise
disposing of, any of the Rezulin Legal Fee, the PPA Legal Fee, Diet Drug Legal
Fees, and/or the Seventh Amendment Legal Fee.

To Defendants, Sherman & Selkow and Arthur Sherman and their officers,
directors, managers, employees, representatives, ‘agents, attomeys, affiliates,
ptivies, parents, subsidiaries and/or successors in interest AND/OR the various
administrators and/or trustees and/or parties responsible for the distribution of any
and/or all of the legal fees and costs in the following matters: a) certain litigation
entitled In ro Rezulin Products Liability Li tigatio n, MDL No. 1348, Case No. 00
Civ 2843, in the United States District Court, Southern District of New York; b)
certain litigation entitled In re Phe: nlylpropanolamine (PPA) Products Liability
Litigation, MDL No. 1407, Case No. 1-MD-1407, in the United States District
Court, Western District of Washington at Seattle; c) certain litigation entitled in re
Diet Drug Litigation, MDL No, 1203, Case No. 2:99-cy-200593HB, in the United
States District Court, Eastern District of Pennsylvania; and/or d) certain Sitipation
commonly known as Seventh Amendment to the National Diet Drug Settlement
Agreement, MDL No. 1203, Case No. 99-20593, in the United States District
Court, Bastern District of Pennsylvania.

YOU ARE HEREBY FURTHER PERMANENTLY DIRECTED AS
FOLLOWS: ,

1. Any andlor all of the legal fees and costs due to Sherman & Saikow
and Arthur Sherman and their officers, directors, managers, employees,
representatives, agents, attorneys, affilistes, privies, parents, subsidiaries and/or
successors in interest, from the following litigation, shal distribu irectly ta
RD Legal Funding, LLC, as assignee of any and ail such funds: a) certain litigation

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ontitled In re Rezulin Products Liability Litigation, MDL No. 1348, Case No. 00.,
Civ 2843, in the United States District Court, Southern District of New ‘York; bi

certain litigation entitled In re Phenlyipropanolaming (PPA) Products Liability’;
Litigation, MDL No. 1407, Case No. [-MD-1407, in the United States Distie!”
Court, Western District of Washington at Seattle; c) certain litigation entitled In re
Diet Drug Litigation, MDL No. 1203, Case No. 2:99-cv-200593HB, in the United
States District Court, Basten District of Pennsylvania; and/or d) certain litigation’
commonly known as Seventh Azaendment to the National Diet Drug Settlement
Agreement, MDL No. 1203, Case No. 99-20593, in the United States District
Court, Bastern District of Pennsylvania.

2, Any and/or all of the Rezulin Legal Fee, the PPA Legal Fee, Diet
Drug Legal Fees, and/or the Seventh Amendment Legal Fee shall be distributed

13 directly to RD Legal Funding, LLC, as assignee of any and all such funds.
14 3. Upon court approval in each of the respective cases noted above, for
15 [distribution of such legal fees and costs, a check shall be issued payable to RD
16 |Legal Funding, LLC, assignee, -and-delivered to:
{7 RDLE Financial Services, LLC
Tax ID No. XX-XXXXXXX
18 P.O. Box 809161
19 Chicago, IL 60680-9161
20 SO AGREED:
21 | Dated: July 20, 2007
22
93 | Dated: July 20, 2007
24
os |
26 Dated: July 20, 2007 ARTHUR SHERMAN
27 By:
Arthur Sherman
28 =
SXOLMARHOOCES & 5 4
2403 Towa Derma S172 f QRRDLegieatlag’S tore whens tye Del yncet 001 doo
Feotall Ramh, CA 904]¢

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ful 28 2007 2:18 SHE A ALKOY NEWKIRK guo1 73 p-&
: or iv
{1 Jentitied| Ih F Rezulin Products Liability Litigation, MDL No. 1348, Case No. 90.
~% ECiv 2845), ig the United States ‘District Court, Southern District of New York; ) .
+ [certain [litigation entitled In re amine vets Liabili¢ ’
2 VLitieatibs, MDL No. 1407, Case No. 1-MD-1407, in. the United States District
+ | Court, iV stem District of Washington at Seattle; ¢) certain litigation entitled In re
Diet Drig Litigation, MDL No, 1203, Case No. 2:99-cv-200593HB, in the United
States Ipigteict Court, Eastern District of Pennsylvania; and/or d) certain litigation
commohily known as Seventh Amendment to the National Diet Drug Settlement
Agreement, (MDL, No. 1203, Case No, 99-20593, in the United States District
1@ }Court, i astem District of Pennsylvania.
1 Any and/or alf of the Rezulin Legal Fee, the PPA Legal Fee, Diet
1% {Drug LegaljFees, and/or the Seventh Amendmont Legal Fes shell be distributed
if directly|to RID Legal Fundine as assignee of any and all such funds.
14 3 Upon court approval in each of the respective cases noted above, for
14 | distribution jof such legal fecs and costs, a check shall be issued payable to RD
if Legal Finding, LLC, assignee, and delivered to:
NY Financial i Services, LLC
. OD p No, 20 2806702
i BP G. F wa
\ Ch 80, Ae 0680-916 1
2 SO AGREED:
RD LEGAL FUNDING, LLC
21 { Dated: Dhlyi20, 2007
2: By:
‘ Roni Dersovitz
2 Dated: ray: 20, 2007 SHE ASOW
By:
2 erman
aq | Dated: pay 20, 2007 AR “i
2 By: )
2 Arthur Shenmman
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Approved as to Form. and Content:

ITIS SO ADJUDGED.

Dated: Faty 2007" UNITED STATES DISTRICT COURT JUDGE

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1 PROOF OF SERVICE
2. I STATE OF CALIFORNIA, COUNTY OF RIVERSIDE
. * . ty
3 $1 am employed m the City of Raverside, County of Riverside, State of Califorma, Fam over the agedf {8
years and not a party to the within achon. My business address 1s 3750 University Avenue, Sutté:670,
4 {Riverside, CA 92501 - . o
. . 5
§ {On August | , 2007, I served the documents named below on the parties mm this Action as follows:
6 | DOCUMENT(S) SERVED: [PROPOSED] JUDGMENT
7 | SERVED UPON. Defendan herman and Sherman & Salkow
Arthur Sherman, Esq.
8 Sherman & Salkow
11601 Walshe Bivd., Ste 675
9 Los Angeles, CA 90025
10 {[x} (BY MAIL) I caused each such envelope, with postage thereon fully prepaid, to be placed in the
United States mail at Rrverside, Cahfornia 1 am readily fanuliar with the practice of Shulman
i Hodges & Bastian LLP for collection and processing of correspondence for matling, said practice
being that in the ordinary course of business, niatt 1s deposited m the United States Postal Service
\2 the sane day as tt 1s placed for collechon. I am aware that on motion of pasty served, service ts
presumed. mvalid 1f postal cancellahon date or postage meter date 1s more than one day after
13 deposit for mailing m affidavit,
14.1, ] GY FACSIMILE) The above-referenced document was transmitted by facsirule transmission
and the transmssion was reported as completed and without error. Pursuant to C.R.C. 20094), I
15 either caused, or had sorneonie cause, the transmitting machine to properly transmit the attached
16 documents to the facsimtle numbers shown on the service list.
{} (BY OVERNIGHT DELIVERY) I am readily familar with the practice of Shulman Hodges &
17 Bastian LLP for collection and processing of documents for overnight dehvery and know that the
document(s) descnbed herevi will be deposited i a box or other facility regularly maintamed by
18 Federal Express or Overnite Express for overmght delivery ot by Express Mail wa the United
19 States Postal Service.
[x] (FEDERAL) I declare that J am employed in the office of a member of the bar of ths court, at
20 whose direction this service was made I declare under penalty of perjury that the foregoing 1s
true and correct
21
> Executed on August (3 , 2007, at Riverside, Cahforma
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N. Mann-Wooten
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26622 Towne Centra Orv ff TITHOOOG WyiCuse A DLnentend ng Shorwnshb pt ed herent
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ivze oct 12, 2206 ID: RDLEGAL FAX NO: 560-9997 #6151 PAGE: 16718

NOTICE OF ASSIGNMENT AND LIEN

TO: Michele Rosenberg, CPA
_ ° MDE 1348 Special Master
_ Comick, Garber & Sandler, LLP
_ 630 Third Avenue :

RE. United States District Court, Southem District of New York, Master Case No. 00Civ.2843 (LAK) .

You are hereby notified that on October 12, 2006, Sharman & Salkow, a Professional Corporation, whose address is
_' F460! Wilshire Bivd., Suite 675, Los Angeles, CA 90025-1742 (“Assignor”), in conjunction with that cestain Settlement
- extered into in the matter of In Re: Regulin Products Lisbility Litigation (MDL No. 1348), transferred and assigned to the
undersigned (“Assignee”), all af the Assignor's right, tithe and interest in and to their share of the settlement amount of

Order end/or your mutual agreement. ‘You we further instructed that any distribution to Sherman & Salkow, » Professional
Corporation of the Assigned Proceeds shall be in violation of Assignment Law of the State of California and shall result in
Pfizer, Inc. and/or MDL 1348 Special Master Michele Rosenberg, CPA of Comick, Garber & Sandler, LLP being held
liehle for damages and sttomeys fees for any loss suffered hereunder.

Altematively, this Notice of Lien may be satisfied by issuance of s check in the sum of $1,385,438.00 (One Million
Three Hundred Eighty Five Thousand Four Hundred Thirty Eight Dollars and No Cents) made payable to Sherman &
Salkow, a Professional Corporation and forwarded to Assignet at RDLF Financial Services, LLC, PO Box 809161, Chicago,
TL 60680-9161.

Payments of the Assigned Proceeds must be delivered as follows:

RDLF Financial Services, LLC (Payment Address Only) Tax LD. No. XX-XXXXXXX
PO Box 809161
Chicago, 1. 60680-9161

Assignee: RDL¢ pal F fp n-ne eee

Date; October 12, 2006

Assignor. Sherman & Salkow, a Proitssi®
14601 Wilshire Bivd., Suite 675

Date: October 12, 2006

Revised: 09702006
Contract Prepared Ry: bf

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16°13 OCT 12, 2086 TD! RDLEGAL FAX NO: 566-9507 #0155 PAGE: 17719

NOTICE OF ASSIGNMENT AND LIEN

TO: Miller, Alfano, Rasponti, P.C,
1818 Market Street
Philadelphis, PA 19103

Atte: — Gregory P. Miller, Esq,

RE: _InRe: Diet Drug Litigation
‘United States District Court for the Exstems District of Pennsylvania Case No.: 2:99-cv-200593HB

You are hereby notified that on October 12, 2006, Sherman & Salkow, PC, whose address is 1160] Wilshire Biva.,
Suite 675, Los Angeles, CA 90025-1742 (“Assignor”), in conjunction with that certain Settlement entered into in the matter
of In Re: Diet Litigation, transferred and assigned to the undersigned (“Assignee”), all of the Assignor’s right, tithe and
interest in and fo their share of the settlernent amount of $2,432,024. 16, equal to $1,279,479.50 (One Million Two Hundred
Seventy Nine Thousand Four Hundred Seventy Nine Dollars and 50 Cents). You are hereby instructed that you are to istue
a check payable to RDLF Financial Services, LLC, Assignee, in the sum of $1,279,479.50 (One Million Two Hundred
Seventy Nine Thousand Four Hundred Seventy Nine Dolfaré and 50 Cents) (“Assigned Proceeds”), delivered to the address
set forth below pursuant to the terms of the Assignment between the parties. You are further instructed to release the
femainder of the Settlement Amount and/or Lega! Fees pursuant to tenns and provisions of the Setdement, Court Order -
and/or your mutus] agreement. You sre further instructed that any distribution to Sherman & Salkow, PC of the Assigned
Prooceds shall be in violation of Assignment Law of the State of Califomia and shall result in Miller, Alfano & Rasporti,
P.C, being held liable for damages and attomeys fees for aty loss suffered hereunder. *

Altematively, this Notice of Lien may be satisfied by issuance of a check in the sum of $1,279,479.50 (One Million
Two Hundred Seventy Nine Thousand Four Hundred Seventy Nine Dollars and SO Cents) made payable to Sherman &
Satkow, PC and forwarded to Assignee at RDLF Financial Services, LLC, PO Box 809161, Chicago, IL 60680-9161.

Payments of the Assigned Proceeds must be delivered as follows:
RDLF Finencial Services, LLC (Payment Address Only) Tax LD. No. XX-XXXXXXX

PO Box 809161
Chicago, IL 60680-9161
Assignee: RD Legal’ LLC
2 en
LD sa)
By: KS "VA? Date: October 12, 2006
: vitz, —_———
Assignor: Sherman & Salkow, PC
11601 Wilshire Bivd, Suite 675
Los Angel 1%:
By: Date: October 12, 2006
Asthur Sherman, Esq.

Revixad: 7-04.04.2006
Contract Prepared By: jr

Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed-08/24+/68—Page 24 ef 29—_—_____

17°56 OCT 12, 2886 ID? RDLEGAL FAX NO: S6a-9307 #0153 PAGE: 17719

NOTICE OF ASSIGNMENT AND LIEN

TO: LanceE, Palmer, Esq.
Kraft Palmer Davies, PLLC
720 Third Avenue, Suite 1510
Scatile, WA 98104-1825

RE: United States District Court, Westem District af Washington at Seattle, Master Docket No. }-MD-1407

You are hereby notified thaton October 12, 2006, Sherman & Salkow, a Professional Corporation, whose address ts

11601 Wilshire Blvd., Suite 675, Los Angeles, CA 90025-1742 (“Assignor”), in connection with the Plaintiff Litigation
Expense Fund in the matter of In Re: Phenylpropanolamine (PPA) Products Liability Litigatioy - MDL No. 1407, .

transferred and assigned to the undersigned (“Assignee”), all of the Assignor’s right, title and interest in and to their share of
the Court Award for Interim payment af Common Benefits Fees and Costs in the amount of $3,042,914.40 (Three Million
Forty Two Thousand Nine Hundred Fourteen Dollars and 40 Cents), equal to $1,385,438.00 (One Million Three Hundred
Eighty Five Thousand Four Hundred Thirty Eight Dollars and No Cents), together with interest payable thereon. You are
hereby instructed that you are to issue a check payable to RDLF Financia} Services, LLC, Assignee, in the sum of
$1,385,438.00 (One Million Three Hundred Eighty Five Thousand Four Hundred Thisty Eight Dollars and No Cents)
(“Assigned Proceeds”), delivered to the address set forth below pursuant to the terms of the Assignment between the parties.
‘You are further instructed to release the remainder of the Settlement Amount and/or Legal Fees pursuant to terms and
provisions of the Settlement, Court Onder and/or your mutual agreement. You are further instructed that any distribution to
Sherman & Salkow, a Professional Corporation of the Assigned Proceeds shell be in violation of Assignment Law of the
State of California and shall result in Lance E. Palmer, Esq. of Kraft Palmer Davies, PLLC being held liable for damages and
anomeys fees for any loss suffered hereunder.

Altematively, this Notice of Lien may be satisfied by issuance of check in the sum of $1,385,438.00 (One Million
Three Hundred Eighty Five Thousand Four Hundred Thirty Eight Dollars and No Cents) made payable to Sherman &
Salkow, a Professional Corporation and forwarded to Assignee at RDLF Financial Services, LLC, PO Box 809161, Chicago,

IL. 60680-9161.
Payments of the Assigned Proceeds must be delivered as follows:

RDLF Financial Services, LLC (Payment Address Only) Tax 1D. Na. XX-XXXXXXX

- PO Box 80916)
Chicago, TL. 60680-9161
Assignee: ' RD Legal F
By: ne Z Date: October #2, 2006
Roni ov Me
Assignor: Sherman & Salkow, a Profession3hCojporation
11601 Wiishire Bivd., Suite 675

Date: October 12, 2006

Revised: 08/20/2006
Contract Prepared By: bt

18:34 OCT 12, 2006 ID: RDLEGAL : FAX NOt 568-5007 #2157 PAGE: 16/16

NOTICE OF ASSIGNMENT AND LIEN
TO: Diet Drug Litigation - Seventh Amendment Fund Administrator
0

Philadelphia, PA 19105-0030
RE: US. District Cow, Bastam District of Pennsylvania, MDL Docket No.1203, Civil Action No. 99-20593

‘You are hereby notified that on October 12, 2006, Sherman & Salkow, a Professional Corporation, whose address ts
11601 Wilshire Blvd, Suite 675, Los Angeles, CA 90025-1742 (“Assignor”), in conjunction with that certain Settlement
entered into in the matter of Seventh Amendment to the National Diet Drug Settlement Agreement, transferred and assigned
1o the undersigned (“Assignee”), all of the Assignor’s right, tille and interest in and to their share of the anticipated
settlement amount of at least $2,142, 720.00 (Two Million One Hundred Forty Two Thousand Dollars and No Cents), equal
to $533,652.25 (Five Hundred Thirly Three Thousand Six Hundred Fifly Two and 25 Cents}. You are
hereby instructed that you are to issue a check payable to RDLF Financial Services, LLC, Assignee, in the sum of
$533,652.25 (Five Hundred Thisty Three Thousand Six Hundred Fifty Two and 25 Certs) (“Assigned
Proceeds”), delivered to the address set forth below pursuant lo the terms of the Assignment between the parties, You are
further instructed to release the remainder of the Settlement Amount and/or Legal Fecs pursuant to terms and provisions of
the Settlement, Court Order and/or your mutual agreement. You are further instructed thet any distribution to Sherman &
Salkow, a Professional Corporation of the Assigned Proceeds shall be in violation of. Assignment Law of the State of
California and shal} result in Wyeth and/or Seventh Amendment Settlement Fund Administratorbeing held liable for
dameges and altomeys foes for any loss suffered hereunder. -

Altematively, this Notice of Lien may be satisfied by issuance of a check in the sum of $533,652.25 (Five
Hundred Thirty Three Thousand Six Hundred Fifty Two and 25 Cents) made payable to Sherman & Salkow,
a Professional Corporetion and forwarded to Assignee at RDLF Financial Services, LLC, PO Box 809161, Chicago, IL
60680-9161,

Payments of the Assigned Proceeds must be delivered as follows:

RDLF Financial Services, LLC (Payment Address Only) Tax LD, No. XX-XXXXXXX
PO Box 809161
Chicago, fl. 60680-9161

Assignee: RD Leg

Byzegzart Date: October 12, 2006
Assignor: Shennan & Salkow, #P¥afeskional Corporation
11601 Wilshire Blvd, Suite 675
Los Angel 1
By: Dale: October 12, 2006
ur Sherman, Esq.

Revised: O8/302068
Contract Prepared By: be

Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed 08/21/08 Page 26 of 29

28

SHULMAN HODGES &
BASTUN LLP
26632 Towne Cesare Drive

Suite

306
Foothill Ranch, CA. 92680

PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF ORANGE

Tam employed in the City of Foothill Ranch, County of Orange, State of California. I am over the age of
18 years and not a party to the within action. My business address is 26632 Towne Centre Dr. Ste. 300,

Foothill Ranch, CA 92610.
On November 21, 2007, I served the documents named below on the parties in this Action as follows:
DOCUMENT(S) SERVED: NOTICE OF ENTRY OF JUDGMENT |

SERVED UPON: SEE ATTACHEDLIST |

{x] (BY MAIL) I caused each such envelope, with postage thereon fully prepaid, to be placed in the
United States mail at Foothill Ranch, California. I am readily familiar with the practice of
Shulman Hodges & Bastian LLP for collection and processing of correspondence for mailing,
said practice being that in the ordinary course of business, mail is deposited in the United States
Postal Service the same day as it is placed for collection. I am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after deposit for mailing in affidavit.

(1 (BY FACSIMILE) The above-referenced document was transmitted by facsimile transmission
and the transmission was reported as completed and without error. Pursuant to C.R.C. 2009(i), I
either caused, or had someone cause, the transmitting machine to properly transmit the attached
documents to the facsimile numbers shown on the service list.

{} (BY OVERNIGHT DELIVERY) I am readily familiar with the practice of Shulman Hodges &
Bastian LLP for collection and processing of documents for overnight delivery and know that the
document(s) described herein will be deposited in a box or other facility regularly maintained by |
Federal Express or Overnite Express for overnight delivery or by Express Mail via the United
States Postal Service.

[x} (FEDERAL) I declare that I am employed in the office of a member of the bar of this court, at
whose direction this service was made. I declare under penalty of perjury that the foregoing is
true and correct.

Executed on November 21, 2007, at Foothill Ranch, California. Ly i igh

dnia N. Manu-Wooten

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Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed 08/21/08 Page 27 of 29

SERVICE LIST

Diet Drug Litigation —- Seventh Amendment Fund Administrator
PO Box 5
Philadelphia, PA 19105-0030

Lance E. Paimer, Esq.

Kraft Palmer Davies, PLLC
720 Third Avenue, Suite 1510
Seattle, WA 98104-1825

Gregory P. Miller, Esq,
Miller Alfano Rasponti PC
1818 Market Street
Philadelphia, PA 19103

Michele Rosenberg, CPA
MDL 1348 Special Master _
Comick, Garber & Sandler LLP
630 Third Avenue

New York, NY 10017

Defendants Arthur Sherman and Sherman & Salkow
Axsthur Sherman, Esq.

Sherman & Salkow

11601 Wilshire Blvd., Ste. 675

Los Angeles, CA 90025

Ron Dersovitz |

RD Legal Funding LEC

{One Eagle Street, Suite 202
Englewood, NJ 07631

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BASTIAN .
26632 Towne Ceara! Drive { 2172-G00W\CASES\Q-R\IRDLEGALFUNDING\SHERMAN\PLDWTCENTIR VJ UDGMENT.002.DOC

Suite 300
Foothill Ranch, CA 92610

Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed 08/21/08 Page 28 of 29

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing NOTICE OF LIEN has been served on
Liaison Counsel, Russ Herman and Phillip Wittmann, by US Mail and e-mail, and that the
foregoing was sent to the Clerk of the United States District Court for the Eastern District of
Louisiana by Federal Express on _June 17, 2008. so that it can be made available for viewing
and downloading from the ECF System of the United States District Court for the Eastern
District of Louisiana. mS

Leonard M. Shuim

Irena Leigh Norton

Shulman Hodges & Bastian LLP
3750 University Ave., Ste. 670
Riverside, CA 92501
Telephone: (951) 275-9300
Facsimile: (951) 275-9303

Email: inorton@shbilp.com
Attorneys for RD Legal Funding, LLC

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Case 2:05-md-01657-EEF-DEK Document 15720-2 Filed 08/21/08 Page 29 of 29

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing NOTICE OF RELEASE OF LIEN has been
served on Liaison Counsel, Russ Herman and Phillip Wittmann, by US Mail and e-mail, and that
the foregoing was sent to the Clerk of the United States District Court for the Eastern District of
Louisiana by Federal Express on July 28, 2008 so that it can be made available for viewing and
downloading from the ECF System of the United States District Court for the Eastern District of
Louisiana.

Leonard M. S

Irena Leigh Norton

Shulman Hodges & Bastian LLP

3750 University Ave., Ste. 670
Riverside, CA 92501

Telephone: (951) 275-9300

Facsimile: (951) 275-9303

Email: inorton@shblip.com

Attorneys for RD Legal Funding, LLC

Merve) —~Jo-e fal or ote

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